 8:89-cr-00097-LES             Doc # 1142     Filed: 09/20/11       Page 1 of 1 - Page ID # 223

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                                                                                         U,S. DISTRICT COUR"l.
                                                                                       '1\ STRICT OF NEBRASKp
PROB. 35                                                        Report and Order Tenninatihg P'rooation!Supervised
(Rev. 7/04)                                                               Release Prior to Original EXpration D?u    I' 0~
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                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEBRASKA                                 OFFlCE Or THE CLERK

UNITED STATES OF AMERICA

                 v.                           Docket # 8:89CR97

          Joseph Michael Pou



          On April 1, 1991, Mr. Pou was sentenced to 260 months custody, to be followed by 5 years

supervised release. The period of supervised release commenced October 31, 2008. Mr. Pou has

complied with the rules and regulations of supervised release and is no longer in need of

supervision. It is accordingly recommended that Mr. Pou be discharged from supervision.


                                              Respectfully submitted,


                                              )r.cL~.,J~~
                                              Michael R. Norton
                                              Supervising U.S. Probation Officer


                                        ORDER OF THE COURT

          Pursuant to the above report, it is ordered that the probationer/supervised releasee be

discharged from supervision and that the
                              11;<­
          Dated this    ?-O           day of--1.~~~~~,




                                              The H norable Lyle E. Strom
                                              Unit States Senior District Judge
